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                        UNITED STATES DISTRICT COURT
                   FOR THE EASTERN DISTRICT OF OKLAHOMA


UNITED STATES OF AMERICA,                       )
                                                )
                     Plaintiff,                 )
                                                )
              v.                                )      Case No. 09-CR-81-JHP
                                                )
GERALD WAYNE SNOW, SR., a/k/a                   )
Gerald Snow, GERALD WAYNE SNOW,                 )
JR., a/k/a Jerry Snow, AYO DINEJI               )
OLANIYAN, and GAIL DIANE CATES,                 )
                                                )
                     Defendants.                )


               ORDER DECLARING CASE A COMPLEX MATTER

       Upon consideration of the Joint Unopposed Motion to Declare this Case a Complex

Matter Pursuant to 18 U.S.C. § 3161(h)(8)(b)(ii) (Docket Number # 37) and having held a

hearing on the motion, the Court hereby grants the motion and finds that this matter is a

complex case for the following reasons:

       1.     The Indictment filed in this case on August 11, 2009, has one count alleging

a conspiracy to commit wire fraud, and one forfeiture count. The conspiracy is alleged to

have existed from November 2004 until November 2, 2005, a period of approximately one

(1) year.

       2.     The Indictment further alleges a conspiracy among and between (4) four

defendants.

       3.     The discovery provided thus far has consisted of nearly 1700 pages of

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discovery, containing grand jury transcripts, mortgage loan applications, house sale closing

files and bank records. All parties agree there will be additional discovery which may result

in the production of approximately 10,000 additional pages of material. Further, counsel

agree this case involves approximately forty (40) different transactions, each having its own

individual documentation

       Accordingly, the Court deems this case unusual or complex, requiring extended

litigation. It is unreasonable to expect adequate preparation for pretrial proceedings or for

the trial itself within the time limits ordinarily established under the Speedy Trial Act. The

ends of justice dictate that the period of delay shall be excludable in computing the time from

which the Indictment was filed and in computing the time within which the trial of this matter

must commence. 18 U.S.C. § 3161(h)(8)(A) and (h)(8)(B)(ii).

       The order that has been previously filed in this matter is stricken and a new order will

be issued reflecting a February 1, 2010 trial date.

       IT IS SO ORDERED this 10th day of September, 2009.




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